             Case 2:23-cv-00578-AC Document 1 Filed 03/28/23 Page 1 of 6



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6
7
                                     UNITED STATES DISTRICT COURT
8                                   EASTERN DISTRICT OF CALIFORNIA
9
10   David Robinson,                                     Case No.
11
                    Plaintiff,                           COMPLAINT FOR DAMAGES AND
12          v.                                           INJUNCTIVE RELIEF
13   HYW 80 Springs LLC,                                 Jury Trial Demanded
14
                    Defendant.
15
16          David Robinson (“Plaintiff”) alleges the following:

17                                             INTRODUCTION

18          1.      Plaintiff brings this action against Defendant HYW 80 Springs, LLC (“Defendant”), for

19   unlawfully discriminating against Plaintiff because of Plaintiff’s disability at the real property located

20   at 625 Miller Avenue in Vallejo, California (“Property”).

21          2.      Plaintiff seeks damages, injunctive, and declaratory relief, attorney’s fees and costs

22   pursuant to the Americans with Disabilities Act of 1990 (“ADA”) and related California law.

23                                                  PARTIES

24          3.      Plaintiff is a natural person and an adult resident of the San Francisco Bay Area. At all

25   times relevant to this Complaint, Plaintiff is and has been considered disabled.

26          4.      Defendant is a California limited liability company with its principal address in

27   California.

28          5.      Defendant owned, managed, operated, or otherwise was responsible for the Property,

                                                     1
                                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
             Case 2:23-cv-00578-AC Document 1 Filed 03/28/23 Page 2 of 6



1    where the Taqueria Tijuana business (“Taqueria Tijuana”) is located.
2                                                  JURISDICTION
3            6.        The Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. 1331
4    and 1343 for violations of the Americans with Disabilities Act of 1990.
5            7.        Pursuant to supplemental jurisdiction, an attendant and related cause of action, arising
6    from the same nucleus of operative facts and arising out of the same transactions, is also brought under
7    California law.
8                                                       VENUE
9            8.        Venue is proper in this court pursuant to 28 U.S.C. 1391 and is founded on the fact that
10   the Property is located inside this district and that Plaintiff's claims arose in this district.
11                                          FACTUAL ALLEGATIONS
12           9.        Plaintiff suffers from disabilities, and/or medical conditions that are disabilities.
13           10.       Plaintiff is a paraplegic due to a tragic motorcycle accident.
14           11.       Plaintiff requires a wheelchair to facilitate his mobility because of a spinal cord injury.
15           12.       Plaintiff’s symptoms substantially limit his major life activities.
16           13.       Plaintiff has at all relevant times, displayed a valid disabled person parking placard
17   issued by the California Department of Motor Vehicles.
18           14.       Plaintiff’s lives in the San Francisco Bay Area, not far from Taqueria Tijuana and the
19   Property.
20           15.       On Friday, March 17, 2023, Plaintiff personally visited the Taqueria Tijuana.
21           16.       Plaintiff visited the Taqueria because he was hungry and wanted to purchase tacos. The
22   Taqueria is just a few minutes away from where Plaintiff lives.
23           17.       Plaintiff was shocked when he arrived at the Taqueria and encountered a total lack of
24   accessible parking at the restaurant.
25           18.       While Defendant provides parking spaces at the property, Defendant does not provide

26   any semblance of accessible parking.
27           19.       There are no designated handicap parking spaces, nor are there any van-accessible
28   parking spaces with an access aisle. The lack of accessible parking creates a huge problem for Plaintiff

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                                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
               Case 2:23-cv-00578-AC Document 1 Filed 03/28/23 Page 3 of 6



1    because Plaintiff requires properly configured accessible parking in order to maneuver in and out of
2    his vehicle and wheelchair.
3              20.   It is crucial for property owners to ensure that they provide disabled-accessible parking
4    at their property where a taqueria business is located because accessible parking spaces are designed
5    to provide individuals with disabilities who use mobility aids such as wheelchairs, walkers, or crutches,
6    with the space they need to enter and exit their vehicle and access the business. Failure to provide
7    adequate, or any, accessible parking may limit the availability of parking spaces for individuals with
8    disabilities, making it difficult for them to access the business, which can cause inconvenience or even
9    prevent individuals from accessing goods or services.
10             21.   The Property is a public accommodations and business establishment. Specifically,
11   Taqueria Tijuana is a restaurant or other establishment serving food or drink, and the Property is a
12   commercial property.
13             22.   The Property is open to the public and its operation affects commerce.
14             23.   Taqueria Tijuana and the Property has undergone construction and/or alterations,
15   structural repairs, or additions since July 1, 1970 and/or July 1, 1982.
16             24.   Plaintiff wants to access the facilities and goods and services offered at Taqueria Tijuana
17   and the Property when Defendant removes the accessibility barriers at the Property.
18             25.   Plaintiff has suffered and continues to suffer violations of his civil rights to full and
19   equal enjoyment of goods, services, facilities, and privileges, and has suffered and will suffer negative
20   feelings.
21                                        FIRST CAUSE OF ACTION
22                              Violations of the Americans with Disabilities Act
23                                          42 U.S.C. § 12101, et seq.
24             26.   Plaintiff hereby incorporates the previous paragraphs as if they had been fully stated
25   herein.

26             27.   Defendant has denied Plaintiff full and equal enjoyment and use of the goods, services,
27   facilities, privileges, and accommodations of Taqueria Tijuana and the Property.
28   //

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                               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
             Case 2:23-cv-00578-AC Document 1 Filed 03/28/23 Page 4 of 6



1                            Failure to Design and Construct an Accessible Property
2           28.     The improvements at the Property are believed to have been designed and constructed,
3    or both, after January 26, 1993, independently triggering access requirements under Title III of the
4    ADA.
5           29.     Defendant violated the ADA by failing to design and construct the facilities at the
6    Property in a manner that was readily accessible to the physically disabled public, including Plaintiff,
7    when it was structurally practical to do so.
8                                 Failure to Make an Altered Facility Accessible
9           30.     Plaintiff alleges that the Property was modified after January 26, 1993, independently
10   triggering access requirements under the ADA.
11          31.     The ADA requires properties altered in a manner that affects or could affect its usability
12   be made easily accessible to individuals with disabilities to the maximum extent feasible. 42 U.S.C. §
13   12183(a)(2).
14          32.     Defendant altered the Property in a manner that violated the ADA and was not readily
15   accessible to the physically disabled public – including Plaintiff – the maximum extent possible.
16          33.     The configuration and condition of the Property denied Plaintiff a public
17   accommodation due to Plaintiff’s disability.
18          34.     It is readily achievable for Defendant to remove the architectural barriers.
19          35.     Defendant does not have any legitimate business justification to excuse the condition
20   and configuration of the Property.
21          36.     Defendant’s violations are the cause of suffering for Plaintiff.
22          37.     Plaintiff prays for all relief available under the ADA, including injunctive relief that
23   prohibits violations complained of herein, which have the effect of wrongfully excluding Plaintiff and
24   other members of the public who are physically disabled from full and equal access to these public
25   facilities, as well as attorney’s fees, costs, and other expenses for these violations.

26   //
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                               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
               Case 2:23-cv-00578-AC Document 1 Filed 03/28/23 Page 5 of 6



1                                         SECOND CAUSE OF ACTION
2                                     Violations of the Unruh Civil Rights Act
3                                          California Civil Code §§ 51-53
4              38.    Plaintiff hereby incorporates the previous paragraphs as if they had been fully stated
5    herein.
6              39.    The Property is a business establishment.
7              40.    As described above, Defendant intentionally discriminated against Plaintiff during
8    Plaintiff’s visit to Taqueria Tijuana at the Property.
9              41.    The Unruh Act provides that a violation of the ADA is a violation of the Unruh Act.
10   Cal. Civ. Code 51(f).
11             42.    Defendant’ acts and omissions as specified are in violation of California Civil Code §§
12   51 and 51.5, the Unruh Civil Rights Act, and have denied Plaintiff’s right to “full and equal
13   accommodations, advantages, facilities, privileges or services in all business establishments of every
14   kind whatsoever.”
15             43.    Plaintiff was harmed.
16             44.    Defendant’s conduct was a substantial factor in causing Plaintiff’s harm.
17             45.    As a result of the violation of Plaintiffs civil rights protected by California Civil Code
18   §§ 51 and 51.5, Plaintiff is entitled to the rights and remedies of California Civil Code § 52, including
19   a trebling of actual damages, minimum statutory damages, as well as reasonable attorneys’ fees and
20   costs, as allowed by statute, according to proof.
21             46.    Plaintiff also seeks to enjoin Defendant from violating disabled persons’ rights.
22                                                    PRAYER
23             Plaintiff hereby prays for the following:
24             1.     Injunctive relief compelling Defendant to cease its discrimination of disabled persons
25   and remove all accessibility barriers that relate to Plaintiff’s disability;

26             2.     Damages under the Unruh Civil Rights Act of no less than $25,000;
27             3.     Attorney’s fees pursuant to 42 U.S.C. 12205, Civil Code sections 52, and/or Code of
28   Civil Procedure section 1021.5, expenses, and costs of suit;

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                                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
     Case 2:23-cv-00578-AC Document 1 Filed 03/28/23 Page 6 of 6



1    4.    Other relief that the court deems appropriate.
2    Dated: March 28, 2023                              Law Office of Rick Morin, PC
3
4                                                       _________________________
                                                        Richard Morin
5                                                       Attorney for Plaintiff
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                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
